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    United States Court of Appeals
        for the Federal Circuit
                 ______________________

     BTG INTERNATIONAL LIMITED, JANSSEN
     BIOTECH, INC., JANSSEN ONCOLOGY, INC.,
    JANSSEN RESEARCH & DEVELOPMENT, LLC,
                Plaintiffs-Appellants

                            v.

    AMNEAL PHARMACEUTICALS LLC, AMNEAL
   PHARMACEUTICALS OF NEW YORK, LLC, DR.
    REDDY'S LABORATORIES, INC., DR. REDDY'S
    LABORATORIES, LTD., WOCKHARDT BIO AG,
     WOCKHARDT USA LLC, WOCKHARDT LTD.,
   MYLAN PHARMACEUTICALS INC., MYLAN INC.,
   WEST-WARD PHARMACEUTICALS CORP., NKA
   HIKMA PHARMACEUTICALS USA INC., HIKMA
         PHARMACEUTICALS LLC, TEVA
         PHARMACEUTICALS USA, INC.,
               Defendants-Appellees

       PAR PHARMACEUTICAL, INC., PAR
   PHARMACEUTICAL COMPANIES, INC., RISING
          PHARMACEUTICALS, INC.,
                   Defendants
             ______________________

                       2019-1147
                 ______________________

     Appeal from the United States District Court for the
 District of New Jersey in Nos. 2:15-cv-05909-KM-JBC,
 2:16-cv-02449-KM-JBC, 2:17-cv-06435-KM-JBC, Judge
 Kevin McNulty.
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                                     PHARMACEUTICALS LLC




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      BTG INTERNATIONAL LIMITED, JANSSEN
      BIOTECH, INC., JANSSEN ONCOLOGY, INC.,
     JANSSEN RESEARCH & DEVELOPMENT, LLC,
                 Plaintiffs-Appellants

                             v.

       AMERIGEN PHARMACEUTICALS, INC.,
      AMERIGEN PHARMACEUTICALS LIMITED,
               Defendants-Appellees
              ______________________

                         2019-1148
                   ______________________

     Appeal from the United States District Court for the
 District of New Jersey in No. 2:16-cv-02449-KM-JBC,
 Judge Kevin McNulty.

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                JANSSEN ONCOLOGY, INC.,
                       Appellant

                             v.

      AMERIGEN PHARMACEUTICALS LIMITED,
       ARGENTUM PHARMACEUTICALS LLC,
                     Appellees
              ______________________

                         2019-1323
                   ______________________

      Appeal from the United States Patent and Trademark
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 Office, Patent Trial and Appeal Board in Nos. IPR2016-
 00286, IPR2016-01317.

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                JANSSEN ONCOLOGY, INC.,
                       Appellant

                             v.

     MYLAN PHARMACEUTICALS INC., AMNEAL
        PHARMACEUTICALS LLC, AMNEAL
    PHARMACEUTICALS OF NEW YORK, LLC, DR.
    REDDY'S LABORATORIES, INC., DR. REDDY'S
          LABORATORIES, LTD., TEVA
    PHARMACEUTICALS USA, INC., WEST-WARD
     PHARMACEUTICAL CORPORATION, HIKMA
            PHARMACEUTICALS LLC,
                     Appellees
              ______________________

                         2019-1324
                   ______________________

     Appeal from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in Nos. IPR2016-
 01332, IPR2017-00853.

 --------------------------------------------

                JANSSEN ONCOLOGY, INC.,
                       Appellant

                             v.

                  WOCKHARDT BIO AG,
                         Appellee
                  ______________________
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                                      PHARMACEUTICALS LLC




                         2019-1325
                   ______________________

     Appeal from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in No. IPR2016-
 01582.
                  ______________________

                   Decided: May 14, 2019
                   ______________________

     CONSTANTINE L. TRELA, JR., Sidley Austin LLP, Chi-
 cago, IL, argued for all plaintiffs-appellants. Plaintiffs-ap-
 pellants Janssen Biotech, Inc., Janssen Oncology, Inc.,
 Janssen Research & Development, LLC also represented
 by STEVEN J. HOROWITZ, DAVID T. PRITIKIN, THOMAS D.
 REIN; ALYSSA B. HJEMDAHL-MONSEN, New York, NY; RYAN
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     ANTHONY C. TRIDICO, Finnegan, Henderson, Farabow,
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 pellant BTG International Limited. Also represented by
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     NATHAN K. KELLEY, Perkins Coie, LLP, Washington,
 DC, argued for all defendants-appellees. Defendants-ap-
 pellees Mylan Inc., Mylan Pharmaceuticals Inc. also repre-
 sented by SHANNON BLOODWORTH, BRANDON MICHAEL
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     CHARLES B. KLEIN, Winston & Strawn LLP, Washing-
 ton, DC, for defendants-appellees Amneal Pharmaceuticals
 LLC, Amneal Pharmaceuticals of New York, LLC, Dr. Red-
 dy's Laboratories, Inc., Dr. Reddy's Laboratories, Ltd.,
 Hikma Pharmaceuticals LLC, Teva Pharmaceuticals USA,
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 Inc., West-Ward Pharmaceuticals Corp. Also represented
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     DENNIES VARUGHESE, Sterne Kessler Goldstein & Fox,
 PLLC, Washington, DC, for defendants-appellees Wock-
 hardt Bio AG, Wockhardt USA LLC, Wockhardt Ltd. Also
 represented by DANIEL RITTERBECK, JON WRIGHT.

     WILLIAM HARE, McNeely, Hare & War, LLP, Washing-
 ton, DC, for defendants-appellees Amerigen Pharmaceuti-
 cals, Inc., Amerigen Pharmaceuticals Limited.      Also
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     TERESA STANEK REA, Crowell & Moring, LLP, Washing-
 ton, DC, for appellee Argentum Pharmaceuticals LLC.

     THOMAS W. KRAUSE, Office of the Solicitor, United
 States Patent and Trademark Office, Alexandria, VA, ar-
 gued for amicus curiae Andrei Iancu. Also represented by
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 FARHEENA YASMEEN RASHEED; MARK R. FREEMAN, SCOTT
 R. MCINTOSH, JENNIFER UTRECHT, Appellate Staff, Civil
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 ton, DC.

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 Also represented by JOSHUA JAMES BONE, Boston, MA;
 JEFFREY FRANCER, The Association for Accessible Medi-
 cines, Washington, DC.
                  ______________________

    Before MOORE, WALLACH, and CHEN, Circuit Judges.
 WALLACH, Circuit Judge.
     Appellants BTG International Limited et al. (“Appel-
 lants”) sued Appellees Amneal Pharmaceuticals LLC et al.
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 (“Appellees”) in the U.S. District Court for the District of
 New Jersey (“District Court”), asserting that Appellees’ Ab-
 breviated New Drug Applications (“ANDA”) for the generic
 version of Appellants’ abiraterone product ZYTIGA® in-
 fringes claims 1–20 (“Asserted Claims”) of U.S. Patent
 No. 8,822,438 (“the ’438 patent”). Subsequently, Appellees
 Amerigen Pharmaceuticals, Inc. and Amerigen Pharma-
 ceuticals Limited (collectively, “Amerigen”); Appellees
 Mylan Pharmaceuticals Inc. and Mylan Inc. (collectively,
 “Mylan”); and Appellees Wockhardt Bio AG, Wockhardt
 USA LLC, and Wockhardt Ltd. (collectively, “Wockhardt”)
 filed three, separate inter partes review (“IPR”) petitions
 with the U.S. Patent and Trademark Office (“USPTO”).
 They alleged that the Asserted Claims would have been ob-
 vious under 35 U.S.C. § 103 (2006). 1
     In all three IPRs, the USPTO’s Patent Trial and Appeal
 Board (“PTAB”) issued claim construction orders adverse
 to Appellants, as well as final written decisions finding the
 Asserted Claims obvious.        Amerigen Pharm. Ltd. v.
 Janssen Oncology, Inc., No. IPR2016-00286, 2018 WL
 454509, at *20 (P.T.A.B. Jan. 17, 2018); Mylan Pharm. Inc.
 v. Janssen Oncology, Inc., No. IPR2016-01332, 2018 WL
 456305, at *20 (P.T.A.B. Jan. 17, 2018); Wockhardt Bio AG
 v. Janssen Oncology, Inc., No. IPR2016-01582, 2018 WL
 456328, at *21 (P.T.A.B. Jan. 17, 2018). Similarly,



     1   Congress amended § 103 when it enacted the
 Leahy-Smith America Invents Act (“AIA”). Pub. L.
 No. 112-29, § 3(c), 125 Stat. 284, 287 (2011). However, be-
 cause the application that led to the ’438 patent has never
 contained (1) a claim having an effective filing date on or
 after March 16, 2013, or (2) a reference under 35 U.S.C.
 §§ 120, 121, or 365(c) to any patent or application that ever
 contained such a claim, the pre-AIA § 103 applies. See
 AIA, § 3(n)(1), 125 Stat. at 293.
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 following a bench trial, the District Court concluded that
 the Asserted Claims would have been obvious in light of its
 claim construction and the same combination of prior art
 relied on by the PTAB. BTG Int’l Ltd. v. Amneal Pharm.
 LLC, 352 F. Supp. 3d 352, 384–90 (D.N.J. 2018); see J.A.
 146–48 (Final Judgment).
      Appellants appeal the PTAB’s Final Written Decisions
 and the District Court’s Final Judgment. We consolidated
 the appeals. We have jurisdiction pursuant to 28 U.S.C.
 § 1295(a)(1) and 1295(a)(4)(A) (2012). We affirm the
 PTAB’s Final Written Decision in Wockhardt. Because our
 affirmance renders the remaining issues on appeal moot,
 we dismiss the appeals of Amerigen, Mylan, and BTG. 2
                        BACKGROUND
                      I. The ’438 Patent
     Entitled “Methods and Compositions for Treating Can-
 cer,” the ’438 patent teaches a method “compris[ing]


     2     When a party challenging the actions taken by an
 agency in separate appeals and “the decision [in one case]
 resolves the substantive issues appealed” in the other
 cases, the other cases are moot. See Dep’t of Commerce v.
 U.S. House of Representatives, 525 U.S. 316, 344 (1999) (ex-
 plaining that by “affirm[ing] the judgment of the District
 Court . . . this decision also resolves the substantive issues
 presented by” the other companion case and, therefore, the
 “appeal in that case is therefore dismissed”); see also Syn-
 opsys, Inc. v. Lee, 812 F.3d 1076, 1077 (Fed. Cir. 2016) (dis-
 missing an appeal of a district court opinion as “moot”
 because “[o]ur decision in the companion [PTAB appeal] re-
 solves all of the substantive issues presented in this [dis-
 trict court appeal]; nothing remains to be decided” and
 “this [district court appeal] no longer presents a ‘sufficient
 prospect that the decision will have an impact on the par-
 ties’” (citation omitted)).
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 administering a 17a-hydroxylase/C17,20-lyase [(‘CYP17’) 3]
 inhibitor, such as abiraterone acetate [(‘abiraterone’)] (i.e.,
 3β-acetoxy-17-(3-pyridyl)androsta-5,16-diene), in combina-
 tion with at least one additional therapeutic agent such as
 an anti-cancer agent or a steroid.” ’438 patent col. 1 ll. 8–
 12. Specifically, the ’438 patent discloses the administra-
 tion of a therapeutically effective amount of a CYP17 in-
 hibitor, such as abiraterone, with a therapeutically
 effective amount of at least one additional therapeutic anti-
 cancer agent. Id. col. 2. l. 9–col. 3 l. 27. This combination
 therapy seeks to provide “more effective ways to treat can-
 cer such as, but not limited to, prostate and breast cancer,”
 id. col. 1 ll. 65–67, in addition to providing “effective anti-
 cancer treatment options for patients who are not respond-
 ing to current anti-cancer treatments” and those “whose
 cancer has recurred,” id. col. 2 ll. 1–5. The ’438 patent de-
 fines an “anti-cancer agent” as “any therapeutic agent that
 directly or indirectly kills cancer cells or directly or indi-
 rectly prohibits[,] stops[,] or reduces the proliferation of
 cancer cells.” Id. col. 4 ll. 8–11. The ’438 patent lists ac-
 ceptable forms of anti-cancer agents, including, inter alia,
 prednisone. Id. col. 3 ll. 16, 19. 4
    Independent claim 1 is representative and recites: “[a]
 method for the treatment of a prostate cancer in a human



     3    CYP17 is involved in testosterone synthesis and is
 a key enzyme for both testicular and adrenal synthesis of
 androgens. ’438 patent col. 3. l. 66–col. 4 l. 1; see J.A. 27911
 (explaining, in the British Journal of Urology Interna-
 tional, that “[t]he two sites thought to produce most of the
 androgenic steroids in humans are the testis and the ad-
 renal cortex”).
      4   Prednisone is a glucocorticoid. ’438 patent col. 13
 ll. 20–21. “Glucocorticoids are adrenocortical steroids, both
 naturally occurring and synthetic[.]” J.A. 28072 (Predni-
 SONE® Prescribing Information).
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 comprising administering to said human a therapeutically
 effective amount of abiraterone acetate or a pharmaceuti-
 cally acceptable salt thereof and a therapeutically effective
 amount of prednisone.” Id. col. 16 ll. 16–20 (emphasis
 added).
                 II. The Relevant Prior Art
                          A. Gerber
      Gerber, G.S. & Chodak, G.W., Prostate Specific Antigen
 for Assessing Response to Ketoconazole and Prednisone in
 Patients with Hormone Refractory Metastatic Prostate Can-
 cer, 144 J. Urology 1177–79 (1990) (“Gerber”) (J.A. 23053–
 55) is a study that evaluates prostate specific antigen
 (“PSA”) level changes, which Gerber identifies as a “good
 indicator of disease activity,” with “increasing PSA levels”
 being associated with “evidence of progressive disease.”
 J.A. 23053. This study evaluated PSA level changes in “[a]
 total of [fifteen] patients with hormone refractory meta-
 static prostate cancer [that were] treated with [a combina-
 tion of] ketoconazole[5] and prednisone.” J.A. 23053. It
 defined “[u]nresponsiveness to the initial hormone ther-
 apy . . . as an increasing PSA level on [two] consecutive de-
 terminations that were at least [one] month apart.”
 J.A. 23053. Gerber explains that patients exhibiting “pro-
 gressively increasing PSA levels had a decrease in PSA in
 response to treatment with ketoconazole and prednisone.”
 J.A. 23055. More specifically, Gerber explains that “PSA
 levels may be useful to define the small subgroup of men
 failing standard hormonal therapy who will benefit from
 the combination of ketoconazole and prednisone.”



     5   “Ketoconazole was originally developed as an anti-
 fungal agent effective against a wide variety of pathogenic
 fungi.” J.A. 23053. It was also discovered, however, that
 “this drug is a potent inhibitor of gonadal and adrenocorti-
 cal steroid synthesis.” J.A. 23053.
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  J.A. 23055. Therefore, Gerber concludes that “there ap-
  pears to be a small subgroup of patients with progressive
  prostate cancer despite hormonal therapy who will derive
  significant benefit from the combination of ketoconazole
  and glucocorticoid [such as prednisone] replacement ther-
  apy.” J.A. 23055.
                            B. O’Donnell
       O’Donnell, A., et al., Hormonal Impact of the 17a-hy-
  droxylase/C17,20-lyase Inhibitor Abiraterone Acetate
  (CB7630) in Patients with Prostate Cancer, 90 Brit. J. of
  Cancer 2317–25 (2004) (“O’Donnell”) (J.A. 23171–79) is an
  article publishing the results of three clinical studies, see
  J.A. 23171−79, and discloses the treatment of prostate can-
  cer with abiraterone at dosages between 500–800 milli-
  grams (“mg”), J.A. 23171. A daily dose of abiraterone
  between 500–800 mg resulted in suppression of testos-
  terone levels to the castrate range in non-castrate males.
  J.A. 23171. O’Donnell explains that “abiraterone ace-
  tate . . . was developed . . . [to be] selectiv[e and it is] . . . a
  potent inhibitor of the [CYP17] enzyme.” J.A. 23172.
  O’Donnell states that “it is common practice to administer
  supplementary hydrocortisone[6] and this may prove neces-
  sary with . . . abiraterone acetate.” J.A. 23177. Finally,
  O’Donnell shows that abiraterone was safe; as such, O’Don-
  nell explains that “[i]n addition to ketoconazole . . . and
  abiraterone, other compounds designed to inhibit general
  androgen production have been developed and show prom-
  ise.” J.A. 23178. On the basis of the clinical evidence,
  O’Donnell reports that “further studies with abiraterone
  acetate will be required to ascertain if concomitant therapy




       6  The ’438 patent explains that hydrocortisone, like
  prednisone, is a glucocorticoid, see ’438 patent col. 3 ll. 9–
  10, and a steroid, see id. col. 3 ll. 18–19.
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  with glucocorticoid is required on a continuous basis.” J.A.
  23177.
                            C. Sartor
       Sartor, O., et al., Effect of Prednisone on Prostate-Spe-
  cific Antigen in Patients with Hormone-Refractory Prostate
  Cancer, 52 Urology 252–56 (1998) (“Sartor”) (J.A.
  23087−91) evaluates the effects of prednisone on PSA lev-
  els in patients with hormone-refractory prostate cancer.
  J.A. 23087. Sartor discloses a trial in which “[twenty-nine]
  consecutive patients with hormone-refractory progressive
  prostate cancer,” J.A. 23087, who were not receiving any
  concomitant anti-cancer therapies, “or any other known
  confounding variables such as ketoconazole, suramin, ami-
  noglutethimide, or chemotherapy,” J.A. 23088, “were
  treated with 10 mg of oral prednisone prescribed two times
  a day,” J.A. 23087. Sartor also discloses that administra-
  tion of prednisone alone led to “the average PSA decline
  compared with [the] baseline [of] 33%” in PSA responses
  after initiating prednisone treatment; a majority of pa-
  tients had PSA progression-free survival for a matter of
  months following treatment. J.A. 23089. Sartor concludes
  that “[p]rednisone (10 mg orally two times a day) can de-
  crease PSA by more than 50% in approximately one third
  of patients” and hypothesizes that “a dose-respons[ive] re-
  lationship between glucocorticoid dose and PSA decline”
  exists. J.A. 23087.
                    III. Procedural History
      From July 2015 to August 2017, Appellants filed mul-
  tiple complaints in the District Court alleging infringement
  of the ’438 patent based on various ANDAs filed by Appel-
  lees, which sought approval to market generic abiraterone
  in 250 mg tablets. See J.A. 432, 437, 461–62. Appellants
  later amended their complaints to add additional claims
  against two new parties, Amerigen in May 2016 and Ap-
  pellee Teva Pharmaceuticals, USA, Inc. (“Teva”) in August
  2017, after those parties filed their respective ANDAs. See
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  J.A. 5. In January 2018, the District Court consolidated
  the cases involving Amerigen and Teva. See J.A. 475. Prior
  to trial, Amerigen, Mylan, and Wockhardt timely peti-
  tioned the USPTO for IPRs of the ’438 patent. See J.A.
  29276–348 (Amerigen Petition), 35051–126 (Mylan Peti-
  tion), 41321–400 (Wockhardt Petition).
      Amerigen and Mylan’s Petitions seeking IPR argued
  that the Asserted Claims would have been obvious over a
  combination of three prior art references: (1) O’Donnell;
  (2) Gerber; and (3) U.S. Patent No. 5,604,213 (“Barrie”).
  See J.A. 29279, 35101. The central issue before the PTAB
  was whether a person having ordinary skill in the relevant
  art (“PHOSITA”) would have known from the references
  that prednisone could be used as a cancer “treatment,”
  which Appellants argued meant that it would have an anti-
  cancer effect on its own. Amerigen, 2018 WL 454509, at
  *11. 7 The PTAB determined that, under the then-govern-
  ing broadest reasonable interpretation (“BRI”) standard,
  the terms “treat,” “treating,” and “treatment” required “the
  eradication, removal, modification, management or control
  of a tumor or primary, regional, or metastatic cancer cells
  or tissue and the minimization or delay of the spread of
  cancer.” Id. The PTAB also explained that, under the BRI
  standard, its understanding of “treatment” means that a
  drug could “treat” cancer “perhaps by an anti-cancer effect,
  or perhaps by some other mechanism.” Id. at *12. The
  PTAB held that, under its construction, the Asserted
  Claims would be obvious because the use of “comprising” in



       7  Amerigen and Mylan raised the same obviousness
  challenges and the PTAB ultimately made identical or sub-
  stantially similar obviousness determinations in both
  IPRs. See Amerigen, 2018 WL 454509, at *18; Mylan, 2018
  WL 456305, at *18. Unless otherwise noted, we will cite to
  the determination in Amerigen; yet, our holdings apply
  equally to Amerigen and Mylan.
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  the claim demonstrates that “treatment” “can include erad-
  ication of a tumor, as would be expected of an anti-cancer
  agent” and that “[t]reatment by steroids can also refer to
  the other treatments that are ‘included’ in the construc-
  tion.” Id..
      Similarly, Wockhardt’s Petition asserted that the As-
  serted Claims would have been obvious over a combination
  of Gerber, O’Donnell, and Sartor. Wockhardt, 2018 WL
  456328, at *2. For similar reasons the PTAB determined
  the claims were obvious in Amerigen and Mylan, it deter-
  mined the Asserted Claims were obvious in Wockhardt. Id.
  at *19. All three Final Written Decisions were issued prior
  to the conclusion of the District Court’s bench trial. See
  BTG, 352 F. Supp. 3d at 374.
       The District Court denied Appellants’ motion to stay
  the litigation pending the result of the IPRs. Id. at 374
  n.13. Following a bench trial, and after the IPR proceed-
  ings concluded, the District Court issued its opinion finding
  all Asserted Claims invalid as obvious. Id. at 400. In de-
  termining that the Asserted Claims were obvious, the Dis-
  trict Court explained that “abiraterone had been identified
  in the prior art as a second-line prostate cancer treatment,”
  and that “it was regarded as a superior swap for ketocona-
  zole, in that it performed a parallel function in a more tar-
  geted manner.” Id. at 384. The District Court also
  explained that, “to the [PHOSITA], the prior art would sug-
  gest that abiraterone could be combined with prednisone
  with a reasonable probability of success.” Id. at 386.
      BTG filed separate requests for rehearing against
  Amerigen, Mylan, and Wockhardt on all three Final Writ-
  ten Decisions, asserting that the PTAB misconstrued the
  term “treatment” in claim 1 of the ’438 patent and improp-
  erly determined that the Asserted Claims were obvious.
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  J.A. 29448, 30135, 35725 (Requests for Rehearing). 8 In De-
  cember 2018, ten months after the filing, the PTAB denied
  the Requests for Rehearing and explained that the Re-
  quests for Rehearing were used “as an opportunity to argue
  positions with which we disagreed in our Final Written De-
  cision. Merely disagreeing with our analysis or conclusions
  does not serve as a proper basis for a request for rehearing.”
  Amerigen Pharm. Ltd. v. Janssen Oncology, Inc., No.
  IPR2016-00286, 2018 WL 6317959, at *3 (P.T.A.B. Dec. 3,
  2018); Mylan Pharm. Inc. v. Janssen Oncology, Inc., No.
  IPR2016-01332, 2018 WL 6317965, at *3 (P.T.A.B. Dec. 3,
  2018); Wockhardt Bio AG v. Janssen Oncology, Inc., No.
  IPR2016-01582, 2018 WL 6317975, at *2 (P.T.A.B. Dec. 3,
  2018).
                          DISCUSSION
      Appellants assert that the PTAB erred by (1) improp-
  erly construing the term “treatment” by not requiring pred-
  nisone to have an anti-cancer effect, see Appellants’ Br. 29,
  and (2) relying on that incorrect construction to find that
  the Asserted Claims would have been obvious over a com-
  bination of Gerber, O’Donnell, and Sartor, see id. at 35. Af-
  ter discussing the applicable standards, we address each of
  Appellants’ arguments.
                     I. Claim Construction
           A. Standard of Review and Legal Standard
      At the time the Final Written Decisions issued, the
  PTAB gave “[a] claim . . . its broadest reasonable construc-
  tion in light of the specification of the patent in which it



       8  Appellants first raised the claim construction dis-
  pute in their Requests for Rehearing. See, e.g., J.A. 30135–
  51; see also 37 C.F.R. § 42.71(d) (2016) (“A party dissatis-
  fied with a decision may file a single request for rehearing
  without prior authorization from the [PTAB].”).
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  appears.” 37 C.F.R. § 42.100(b). A specification “includes
  both the written description and the claims” of the patent.
  In re Packard, 751 F.3d 1307, 1320 n.11 (Fed. Cir. 2014).
  “A patent’s specification, together with its prosecution his-
  tory,[9] constitutes intrinsic evidence to which the PTAB
  gives priority when it construes claims.” Knowles Elecs.
  LLC v. Cirrus Logic, Inc., 883 F.3d 1358, 1361−62 (Fed.
  Cir. 2018) (citation omitted). We review the PTAB’s assess-
  ment of the intrinsic evidence de novo. See id. at 1362.
   B. The PTAB Properly Construed the Treatment Limita-
                tion of the Asserted Claims
      The PTAB construed the Asserted Claims’ use of “treat-
  ment” as “includ[ing] the eradication, removal, modifica-
  tion, management or control of a tumor or primary,
  regional, or metastatic cancer cells or tissue and the mini-
  mization or delay of the spread of cancer.” Wockhardt,
  2018 WL 456328, at *3; Amerigen, 2018 WL 454509, at *3.
  Appellants assert that “[t]he [PTAB]’s decisions rest on an
  erroneous claim construction” because the term “‘treat-
  ment’ requires an anti-cancer effect.” Appellants’ Br. 28–
  29 (capitalization modified). Specifically, Appellants aver
  that the PTAB erred in construing “treating” prostate can-
  cer to include palliative effects and reducing side effects of
  co-administered abiraterone because the claims only re-
  quire “hav[ing] at least one anti-cancer effect.” Id. at 30–
  32. We disagree with Appellants.
      The ’438 patent’s claims, specification, and prosecution
  history teach that “treatment” includes both anti-cancer ef-
  fects and palliation or reduction in side effects of a different



      9   A patent’s prosecution history “consists of the com-
  plete record of the proceedings before the [US]PTO,” which
  provides “evidence of how the [US]PTO and the inventor
  understood the patent.” Phillips v. AWH Corp., 415 F.3d
  1303, 1317 (Fed. Cir. 2005) (en banc) (citations omitted).
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  anti-cancer drug. We begin our analysis with the claim
  language and the specification. In re Power Integrations,
  Inc., 884 F.3d 1370, 1376 (Fed. Cir. 2018) (“[C]laim con-
  struction must begin with the words of the claims them-
  selves.” (citation omitted)); see Trs. of Columbia Univ. v.
  Symantec Corp., 811 F.3d 1359, 1363 (Fed. Cir. 2016)
  (“[T]he specification is always highly relevant to the claim
  construction analysis and is, in fact, the single best guide
  to the meaning of a disputed term.” (internal quotation
  marks and citation omitted)). Independent claim 1 of the
  ’438 patent discloses “a method for the treatment of a pros-
  tate cancer in a human comprising administering to said
  human a therapeutically effective amount of” prednisone,
  along with abiraterone. ’438 patent col. 16 ll. 16–20. The
  specification defines a “therapeutically effective amount” of
  a “therapeutic agent” as an amount “effective for treating a
  disease or disorder . . . such as cancer.” Id. col. 4 ll. 17–22
  (emphasis added). 10 Therefore, any definition of “treat-
  ment” must encompass the full range of the therapeutic
  agent’s effects disclosed in the specification. Prednisone is
  one such disclosed therapeutic agent.
       The specification states that a “therapeutic agent” may
  be either “an anti-cancer agent or a steroid.” Id. col. 10
  ll. 54–55 (emphasis added). As such, the use of “or” in be-
  tween “anti-cancer agent” and “steroid” suggests that a
  steroid is not necessarily the same thing as an anti-cancer
  agent. See Housey Pharm., Inc. v. Astrazeneca UK Ltd.,
  366 F.3d 1348, 1353–54 (Fed. Cir. 2004) (explaining the
  claim term “inhibitor or activator of a protein” was “not lim-
  ited” to the narrow meaning because “the specification and
  prosecution history affirmatively demonstrate that [the



       10  The PTAB recognized, and Appellants do not con-
  test, that a “therapeutically effective” amount is an amount
  that is “effective for treating prostate cancer.” See Wock-
  hardt, 2018 WL 456328, at *3; Appellants’ Br. 28.
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  appellant] intended the broader meaning”). Importantly,
  the specification identifies prednisone as a glucocorticoid,
  see ’438 patent col. 3 ll. 9–11 (“[A] glucocorticoid includ[es],
  but [is] not limited to, hydrocortisone, prednisone[,] or dex-
  amethasone”), and glucocorticoid as a steroid, see id. col. 5
  ll. 9–11 (explaining that “one therapeutic agent, such as an
  anti-cancer agent or steroid, particularly [is] a glucocorti-
  coid”). Prednisone is similarly listed as an example of an
  antibiotic agent. See id. col. 9 ll. 30–44 (“Suitable antibiotic
  agents . . . [include] prednisone.”). The specification states
  that antibiotic agents are one example of anti-cancer
  agents. Id. col. 7 l. 46 (providing that “anti-cancer agent[s]
  include . . . antibiotic agents”). Therefore, the specification
  explains that prednisone may be used as both a steroid and
  an anti-cancer agent.
       If the patentee intended to limit “treating” and “thera-
  peutic agents” to anti-cancer agents, the patentee neither
  would have identified steroids separately as an agent for
  reducing adverse side effects of CYP17 inhibitors, nor de-
  scribed prednisone repeatedly in the specification as a ster-
  oid without mentioning any anti-cancer effect. See, e.g., id.
  col. 10 ll. 15–21, 25–41. Because the specification explains
  that prednisone is an anti-cancer agent and a steroid, id.
  col. 3 ll. 16–19, “treating” with prednisone must logically
  include more than just anti-cancer effects and should in-
  clude the long-familiar steroid effects of palliation and re-
  duction of side effects, see J.A. 23087 (Sartor)
  (“Glucocorticoids [which are steroids] have significant pal-
  liative activity in patients with metastatic prostate can-
  cer[,] initially recognized in the 1950s.”). Thus, the
  specification supports the PTAB’s construction that pred-
  nisone may “treat” cancer by having anti-cancer effects or
  by producing familiar steroid effects of palliation and the
  reduction of side effects caused by the co-administration of
  arbiraterone.
     The prosecution history does not detract from, and if
  anything, supports the PTAB’s construction. See Knowles
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  Elecs., LLC v. Iancu, 886 F.3d 1369, 1373 (Fed. Cir. 2018)
  (discussing the relevance of prosecution history in claim
  construction). During prosecution, an examiner allowed
  the initially rejected claims after Appellants showed com-
  mercial success of a combination of abiraterone and pred-
  nisone “for the treatment of patients.” J.A. 26048; see
  J.A. 26505–07 (Notice of Allowability). The Examiner re-
  jected the claims of the ’438 patent over a combination of
  O’Donnell, which discusses abiraterone’s anti-cancer ef-
  fects, and a prior art reference entitled “Chemotherapy
  with Mitoxantrone Plus Prednisone or Prednisone Alone
  for Symptomatic Hormone-Resistant Prostate Cancer: A
  Canadian Randomized Trial With Palliative End Points”
  14 J. Clin. Oncology 1756 (1996) (“Tannock”) (J.A. 23063–
  73). See J.A. 25985 (Examiner’s Rejection). As described
  by the Examiner, Tannock teaches treating refractory pros-
  tate cancer by co-administering “10mg of prednisone in
  combination with other [anti]-cancer drugs.” J.A. 25941–
  42. Tannock states that “the goal of treatment is pallia-
  tion” and describes prednisone as providing palliation and
  relief from the toxicity of other anti-cancer drugs.
  J.A. 23065. It further explains that “some anti[-]cancer
  drugs have biologic activity as assessed by decrease in the
  [PSA] level, but these agents are often given with cortico-
  steroids, which provide palliation to some patients when
  used alone.” J.A. 23065 (footnotes omitted).
      Appellants did not distinguish Tannock from the appli-
  cation that led to the ’438 patent, but rather just stated
  that neither Tannock nor O’Donnell “teach or suggest com-
  bining prednisone and abiraterone to treat prostate can-
  cer.” J.A. 26006. Instead, the Examiner allowed the claims
  based on Appellants’ assertion that their FDA approved
  abiraterone product was commercially successful,
  J.A. 26505–07, and the Examiner’s finding that “the unex-
  pected commercial success of the launch of the drug [com-
  bining abiraterone and prednisone] obviates the” § 103
  rejection, J.A. 26113; see J.A. 26047 (explaining, by the
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  Examiner, that “the present invention possesses unex-
  pected results and is non-obvious over the cited art” be-
  cause, inter alia, a PHOSITA “reading Tannock[] would
  expect there to be no difference in survival between one
  cancer agent alone, and that same cancer agent in combi-
  nation with prednisone”). As such, the prosecution history
  is consistent with the understanding that the claimed
  “treatment” requires the use of abiraterone coincidingly
  with prednisone because the claims were not allowable oth-
  erwise. We conclude that the PTAB, in light of intrinsic
  evidence and under the BRI standard, correctly construed
  “treatment” to mean “the eradication, removal, modifica-
  tion, management or control of a tumor or primary, re-
  gional, or metastatic cancer cells or tissue and the
  minimization or delay of the spread of cancer.”
       Appellants’ primary counterargument is unavailing.
  Appellants suggest that, under the “[PTAB’s] erroneous
  construction,” of “treatment,” a PHOSITA could practice
  the invention “without having any effect on the cancer it-
  self.” Appellants’ Br. 36. Appellants assert that based on
  this construction, the PTAB concluded that the claims
  would cover “a therapy in which only abiraterone treats
  cancer,” which is “the wrong invention.” Id. The claims,
  however, recite administering a combination of abi-
  raterone, which was known to have an anti-cancer effect,
  and prednisone. ’438 patent col. 16 ll. 16–20; see also
  J.A. 45579 (explaining, by Appellees’ expert, that “[i]t was
  also well-know that glucocorticoids [like prednisone] had
  an anti-cancer effect”). The claims do not specify that abi-
  raterone and prednisone must have the same treatment ef-
  fect, and as explained above, the patent specification
  discloses treatment effects other than anti-cancer effects.
  Therefore, the PTAB correctly concluded that the Asserted
  Claims cover a therapy in which abiraterone has an anti-
  cancer effect, while prednisone either has its own anti-can-
  cer effect or has a palliative/side-effect reduction effect.
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                        II. Obviousness
          A. Standard of Review and Legal Standard
      “We review the PTAB’s factual findings for substantial
  evidence and its legal conclusions de novo.” Redline Detec-
  tion, LLC v. Star Envirotech, Inc., 811 F.3d 435, 449 (Fed.
  Cir. 2015) (citation omitted). Substantial evidence “is such
  relevant evidence as a reasonable mind might accept as ad-
  equate to support a conclusion.” In re NuVasive, Inc., 842
  F.3d 1376, 1380 (Fed. Cir. 2016) (internal quotation marks
  and citations omitted). “If two inconsistent conclusions
  may reasonably be drawn from the evidence in record, the
  PTAB’s decision to favor one conclusion over the other is
  the epitome of a decision that must be sustained upon re-
  view for substantial evidence.” Elbit Sys. of Am., LLC v.
  Thales Visionix, Inc., 881 F.3d 1354, 1356 (Fed. Cir. 2018)
  (internal quotation marks, brackets, and citation omitted).
      A patent claim is invalid “if the differences between the
  subject matter sought to be patented and the prior art are
  such that the subject matter as a whole would have been
  obvious at the time the invention was made to a
  [PHOSITA].” 35 U.S.C. § 103(a). Obviousness is a ques-
  tion of law based on underlying findings of fact. See In re
  Gartside, 203 F.3d 1305, 1316 (Fed. Cir. 2000). Those un-
  derlying findings of fact include (1) “the scope and content
  of the prior art,” (2) the “differences between the prior art
  and the claims at issue,” (3) “the level of ordinary skill in
  the pertinent art,” and (4) the presence of objective indicia
  of nonobviousness such “as commercial success, long felt
  but unsolved needs, failure of others,” and unexpected re-
  sults. Graham v. John Deere Co. of Kan. City, 383 U.S. 1,
  17 (1966); see United States v. Adams, 383 U.S. 39, 50–52
  (1966). In assessing the prior art, the PTAB also “con-
  sider[s] whether a PHOSITA would have been motivated
  to combine the prior art to achieve the claimed invention
  and whether there would have been a reasonable expecta-
  tion of success in doing so.” In re Warsaw Orthopedic, Inc.,
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  832 F.3d 1327, 1333 (Fed. Cir. 2016) (internal quotation
  marks, brackets, and citation omitted).
   B. Substantial Evidence Supports the PTAB’s Findings
                 Regarding Obviousness 11
      In Wockhardt, the PTAB held that the Asserted Claims
  would have been obvious over a combination of Gerber,
  O’Donnell, and Sartor. 2018 WL 456328, at *19. Specifi-
  cally, the PTAB determined that the “prior art provides a
  reasonable expectation that prednisone could be used as a
  therapeutic agent in the treatment of prostate cancer.” Id.
  at *14. Appellants do not contest either that the prior art
  teaches each limitation of the Asserted Claims or that a
  PHOSITA would have been motivated to combine abi-
  raterone and prednisone. See generally Appellants’ Br. Ra-
  ther, Appellants assert that the PTAB failed to find that a
  PHOSITA would have “reasonab[ly] expect[ed] . . . success
  in achieving the invention as claimed” by developing a com-
  bination therapy where both abiraterone and prednisone
  produce an anti-cancer effect in combination. Id. at 36. We
  disagree with Appellants.
     Substantial evidence supports the PTAB’s finding that
  a PHOSITA would have a reasonable expectation of



      11   Because Appellants predicate their obviousness ar-
  guments upon their assertion that the “PTAB’s erroneous
  construction infected its analysis of obviousness,” Appel-
  lants’ Br. 35, we need not separately address Appellants’
  conditional invalidity arguments, see Knowles, 886 F.3d at
  1373 n.3 (“Because we conclude that the PTAB did not err
  in its construction of the disputed limitation, we need not
  address the appellants’ conditional arguments as to the
  PTAB’s unpatentability determinations.”(internal quota-
  tion marks and citation omitted)). However, for purposes
  of this appeal, we address these arguments as an independ-
  ent basis for affirming the PTAB’s findings.
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  success in combining Gerber, O’Donnell, and Sartor to ar-
  rive at the invention of the Asserted Claims. First, under
  our claim construction, there is no requirement that pred-
  nisone must have an anti-cancer effect. See supra Section
  I.B. Appellants make no reasonable expectation of success
  arguments under this construction. Appellants’ Br. 38 (ar-
  guing only that “[u]nder a [claim construction where pred-
  nisone must have an anti-cancer effect], the [PTAB] could
  not have found the required expectation of success”).
      Second, even under Appellants’ construction, the rec-
  ord shows that a PHOSITA would have a reasonable expec-
  tation of success in combining abiraterone and prednisone
  because they were both together and individually consid-
  ered promising prostate cancer treatments at the time. See
  J.A. 45665–69. The PTAB found as much when it stated
  that in the Wockhardt IPR, “in which [Wockhardt] relies on
  Sartor to demonstrate that prednisone has its own anti-
  cancer effect, . . . prednisone would ‘treat’ prostate cancer”
  even under Appellants’ preferred construction. 2018 WL
  456328, at *14. Wockhardt’s expert recounted that the use
  of “prednisone and hydrocortisone . . . specifically, were
  known to have activity in treating prostate cancer.”
  J.A. 45580; see J.A. 45580 (explaining, by Wockhardt’s ex-
  pert, that “Sartor reported a ≥ 50% reduction in PSA in 34%
  of patients dosed with 20 mg/day of prednisone[,]” which
  demonstrates prednisone and hydrocortisone were known
  to treat prostate cancer). Wockhardt’s expert explained
  that “a [PHOSITA] would have known that prednisone had
  been part of the standard of care for hormone refractory
  prostate cancer well before August 25, 2006,” because pred-
  nisone and another drug “had been the standard regimen
  for hormone refractory prostate cancer.” J.A. 45572; see
  J.A. 45578 (explaining that by 2006 “abiraterone acetate
  was known to be a potent and highly selective CYP17 in-
  hibitor and anti-prostate cancer agent”). Similarly, Gerber
  indicates that “a small subgroup of patients with progres-
  sive prostate cancer . . . will benefit from ketoconazole and
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  [prednisone] treatment.” J.A. 23053; see J.A. 45581 (ex-
  plaining, by Appellees’ expert, that to address the toxicity
  of ketoconazole “it was standard practice in the art to co-
  administer a glucocorticoid,” such as prednisone, because
  it was “safe and effective in patients”). O’Donnell confirms
  Gerber’s findings and explains that it is “common practice
  to administer supplementary hydrocortisone” and that abi-
  raterone is a more selective inhibitor of CYP17 than keto-
  conazole. J.A. 23177. Sartor taught that prednisone could
  be prescribed for palliative treatment and that prednisone
  “can decrease PSA by more than 50% in approximately one
  third of patients.” J.A. 23087. Wockhardt’s expert ex-
  plained that “decreasing levels of PSA correlate with a re-
  sponse to treatment.” J.A. 45573. Thus, based on Sartor,
  a PHOSITA would know that prednisone alone could treat
  prostate cancer. Further, because Gerber teaches that it is
  safe and effective to treat prostate cancer with “the CYP17
  inhibitor ketoconazole” in combination with prednisone
  and O’Donnell teaches that abiraterone is a more selective
  inhibitor of CYP17 than ketoconazole and effectively sup-
  presses testosterone levels, a PHOSITA would have had a
  reasonable expectation of success in using prednisone, in
  combination with abiraterone, to treat prostate cancer.
  Therefore, substantial evidence supports the PTAB’s con-
  clusion that a PHOSITA would have a reasonable expecta-
  tion of success that prednisone could be therapeutically
  effective in the treatment of prostate cancer when combin-
  ing Gerber, O’Donnell, and Sartor.
      Appellants’ counterarguments are unavailing. First,
  Appellants’ assertion that the PTAB “did not even consider
  whether a [PHOSITA] would have had a reasonable expec-
  tation of success in achieving the inventions of the ’438 pa-
  tent as claimed because the [PTAB] did not have the right
  claimed invention in mind” lacks merit. Appellants’ Br. 22.
  More specifically, Appellants assert that “[i]n each case,
  the [PTAB]’s findings on expectation of success concerned
  something other than the claimed invention because of its
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  erroneous claim construction,” id. at 37, and that “[u]nder
  a proper claim construction, the [PTAB] could not have
  found the required expectation of success,” id. at 38. Ap-
  pellants argue that because, by 2006, Sartor had “acknowl-
  edged that glucocorticoids such as prednisone had not
  ‘demonstrated a survival advantage,’” there was no reason-
  able expectation of success. Id. (citation omitted). The As-
  serted Claims, however, do not require a survival
  advantage, see ’438 patent col. 16 ll. 16–20, and Sartor
  states that “because no study with [secondary hormonal
  manipulations] has demonstrated a survival advantage,
  their potential role is not agreed upon by all,” J.A. 44462.
  While prednisone’s effect in combination may have been
  uncertain at the time, the law only requires a reasonable
  expectation of success. See Pfizer, Inc. v. Apotex, Inc., 480
  F.3d 1348, 1364 (Fed. Cir. 2007) (“[T]he expectation of suc-
  cess need only be reasonable, not absolute”); see also Wock-
  hardt, 2018 WL 456328, at *14, *19 (explaining that “the
  evidence of record supports that it would have been obvi-
  ous” to a PHOSITA “to combine Gerber, O’Donnell, and
  Sartor with a reasonable expectation of success of achiev-
  ing the method of challenged claim 1”). Because the PTAB
  considered the entirety of the record as well as all of the
  parties’ arguments, Appellants have failed to demonstrate
  error in the PTAB’s reasonable expectation of success find-
  ing on this basis.
      Second, Appellants assert that the “[PTAB’s] erroneous
  [claim] construction also infected its analysis of objective
  indicia of non-obviousness.” Appellants’ Br. 39. Specifi-
  cally, Appellants assert that “[t]hese [objective] indicia can-
  not be assessed without a clear and correct understanding
  of the scope of the claims,” which it lacked due to an alleg-
  edly improper claim construction. Id. at 40. Here, how-
  ever, the PTAB properly construed the claim terms and,
  therefore, properly understood the scope of the claims. See
  Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1072
  (Fed. Cir. 2018) (explaining that “objective evidence of non-
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  obviousness must be commensurate in scope with the
  claims” (internal quotation marks and citation omitted)).
  Nevertheless, the PTAB also considered evidence of objec-
  tive indicia relating to unexpected results, Wockhardt,
  2018 WL 456328, at *15–16, the skepticism and the failure
  of others, id. at *16, long-felt need, id. at *16–17, and com-
  mercial success, id. at *17–19, in making its ultimate obvi-
  ousness decision. The Asserted Claims only require an
  effective treatment for prostate cancer. As such, because
  the use of abiraterone and prednisone to treat prostate can-
  cer was well-known and did not provide unexpectedly su-
  perior results, and because other treatments for prostate
  cancer were available, the evidence presented here does not
  establish that there was a specific unsolved, long-felt need
  for the treatment. J.A. 45572. Similarly, the skepticism
  and failure of others factor did not demonstrate that abi-
  raterone was “relegated to the back-burner” as Appellants
  suggest. See J.A. 41696–97. Rather, the evidence at most
  demonstrated that some researchers were simply unenthu-
  siastic about abiraterone in combination with a glucocorti-
  coid. See J.A. 41696 (citing one company’s termination of
  clinical development of abiraterone in 1996 and initial re-
  sistance to O’Donnell’s publication). However, lack of en-
  thusiasm by a few is not equivalent to skepticism or failure
  of others such that the combination would not have been
  obvious to a PHOSITA. Finally, with regard to commercial
  success, the PTAB determined that “[t]here is no real dis-
  pute that [the commercial product] is commercially suc-
  cessful in terms of dollar figures.” Wockhardt, 2018 WL
  456328, at *18. The PTAB, however, acknowledged that
  Appellants also owned a blocking patent (the Barrie patent
  covering methods of use of abiraterone for the treatment of
  prostate cancer) that “would have deterred others from ex-
  ploring the commercial potential of abiraterone.” Id.
  While the mere existence of a blocking patent does not nec-
  essarily detract from evidence of commercial success, see
  Acorda Therapeutics, Inc. v. Roxane Labs., Inc., 903 F.3d
  1310, 1339 (Fed. Cir. 2018), substantial evidence supports
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  the PTAB’s finding that here “the record evidence does not
  indicate that [BTG’s asserted licensing efforts] remove the
  deterrent effect of the blocking patent,” J.A. 369. As such,
  the PTAB properly considered the objective indicia of non-
  obviousness under the accurate claim scope and deter-
  mined that they were “neutral or not in favor of the patent-
  ability of the [Asserted C]laims, and do not outweigh the
  other Graham factors in [its] obviousness analysis.” Wock-
  hardt, 2018 WL 456328, at *19. We conclude the PTAB
  properly found the Asserted Claims would have been obvi-
  ous.
       Because we conclude that the Asserted Claims are un-
  patentable as obvious, as the PTAB found in Wockhardt,
  we need not reach the remaining issues on appeal. Appel-
  lants challenge to the PTAB’s decision in Amerigen and
  Mylan, as well as their challenge to the District Court’s Fi-
  nal Judgment relating to BTG, all pertain to the same As-
  serted Claims in Wockhardt that we have affirmed as
  unpatentable. Compare Wockhardt, 2018 WL 456328, at
  *1 (explaining that claims 1–20 of the ’438 patent are at
  issue), with Amerigen, 2018 WL 454509, at *1 (explaining
  that claims 1–20 of the ’438 patent are at issue); Mylan,
  2018 WL 456305, at *1 (explaining that claims 1–20 of the
  ’438 patent are at issue); BTG, 352 F. Supp. 3d at 359 (ex-
  plaining that claims 4, 8, 11, 19, and 20 of the ’438 patent
  are at issue). Given that we have resolved the patentabil-
  ity of the Asserted Claims, this renders moot the other ap-
  peals. See Synopsys, 812 F.3d at 1077.
                         CONCLUSION 12
     We have considered Appellants’ remaining arguments
  and find them unpersuasive. We dismiss as moot the



       12 Even if we considered the Appellants’ assertion
  that the District Court erred by considering an obviousness
  challenge that was barred by 35 U.S.C. § 315(e)(2),
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  appeals relating to Amerigen, Mylan, and BTG. Accord-
  ingly, the Wockhardt Final Written Decision of the U.S. Pa-
  tent and Trademark Office’s Patent Trial and Appeal
  Board is
    AFFIRMED; APPEAL NOS. 2019-1147, 2019-1148,
          2019-1323, 2019-1324 DISMISSED




  Appellants’ Br. 45, because we find the PTAB did not err in
  determining that the claims were obvious, we need not
  reach the merits of the District Court appeal. See Synop-
  sys, 812 F.3d at 1077.
